                                                                                 ('^erlOCPv^
                                                      U.S. Department of Justice

                                                      Andrew E, Lelling
                                                      United States Attorney
                                                      District ofMassachusetts


Main Reception: (617) 748-3100                        John Joseph Moakley UnitedStates Courthom^^"^^
                                                      1 Courthouse Way
                                                      Suite 9200
                                                      Boston, Massachusetts 02210


                                                      March 1,2019

Robert Fisher, Esq.
Nixon Peabody
53 State Street
Boston, MA 02109-2835

         Re:      United States v. John Vandemoer


Dear Mr. Fisher:


         The United States Attorney for the District ofMassachusetts ("the U.S. Attorney") and your
client, John Vandemoer ("Defendant"), agree as follows:

         1.       Change of Plea


       No later than April 1,2019, Defendant will waive Indictment and plead guilty to count one
of an Information substantially in the form attached hereto, charging him with one count of
conspiracy to commit racketeering, in violation of Title 18, United States Code, Section 1962(d).
Defendant admits that he committed the crime specified in that count and is in fact guilty of that
count.


         2.       Penalties


        Defendant faces the following maximum penalty: incarceration for twenty years;
supervised release for three years; a fine of $250,000, or twice the gross gain or loss, whichever is
greater; a mandatory special assessment of $100; restitution; and forfeiture to the extent charged
in the Information.


         3.       Sentencing Guidelines

        The parties agree, based on the following calculations, that Defendant's total "offense
level" imder the United States Sentencing Guidelines is 20:


                                                  1
               a) Defendant's base offense level is seven, because Defendant is pleading guilty
                  to an offense of conviction that has a statutory maximum term of imprisonment
                  of 20 years or more (USSG § 2E1.1(a)(2) and USSG § 2B1.1(a)(1));

               b) Defendant's offense level is increased by 14, because the gain from the offense
                   of conviction and related conduct is more than $550,000 but not more than
                   $1,500,000 (USSG §2B1.1(b)(1)(H));

               c) Defendant's offense level is increased by two, because Defendant abused a
                  position of trust (USSG §3B1.3);

               d) Defendant's offense level is decreased by three, because Defendant has
                  accepted responsibility for his crime (USSG §3E1.1).

       Defendant understands that the Court is not required to follow this calculation, and that
Defendant may not withdraw his guilty plea if Defendant disagrees with how the Court calculates
the Guidelines or with the sentence the Court imposes.

       Defendant also understands that the government v^ll object to any reduction in his sentence
based on acceptance of responsibility if: (a) at sentencing. Defendant does not clearly accept
responsibility for the crime he is pleading guilty to committing; or (b) by the time of sentencing.
Defendant has committed a new federal or state offense, or has in any way obstructed justice.

      If, after signing this Agreement, Defendant's criminal history score or Criminal History
Category are reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelines.


       Nothing in this Plea Agreement affects the U.S. Attorney's obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

       4.      Sentence Recommendation


       The U.S. Attorney agrees to recommend the following sentence to the Court:

               a) incarceration for a period of 18 months;

               b) a fine within the Guidelines sentencing range as calculated by the parties unless
                  the Court finds that Defendant is not able, and is not likely to become able, to
                  pay a fine;

               c) 12 months of supervised release;

               d) a mandatory special assessment of$100, which Defendant must pay to the Clerk
                  of the Court by the date of sentencing; and,

               e) forfeiture as set forth in Paragraph 6.
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        5.        Waiver of Appellate Rights and Challenges to Conviction or Sentence

        Defendant has the right to challenge his conviction and sentence on "direct appeal." This
means that Defendant has the right to ask a higher court (the "appeals court") to look at what
happened in this case and, if the appeals court finds that the trial court or the parties made certain
mistakes, overturn Defendant's conviction or sentence. Also, in some instances. Defendant has
the right to file a separate civil lawsuit claiming that serious mistakes were made in this case and
that his conviction or sentence should be overturned.

        Defendant understands that he has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

                  a) He will not challenge his conviction on direct appeal or in any other proceeding,
                     including in a separate civil lawsuit; and

                  b) He will not challenge his sentence, including any court orders related to
                     forfeiture, restitution, fines or supervised release, on direct appeal or in any
                     other proceeding, including in a separate civil lawsuit.

       Defendant understands that, by agreeing to the above, he is agreeing that his conviction
and sentence will be final when the Court issues a written judgment after the sentencing hearing
in this case. That is. after the Court issues a written judgment. Defendant will lose the right to
appeal or otherwise challenge his conviction and sentence, regardless of whether he later changes
his mind or finds new information that would have led him not to agree to give up these rights in
the first place.

      Defendant acknowledges that he is agreeing to give up these rights at least partly in
exchange for concessions the U.S. Attorney is making in this Agreement.

        The parties agree that, despite giving up these rights. Defendant keeps the right to later
claim that his lawyer rendered ineffective assistance of counsel, or that the prosecutor engaged in
misconduct serious enough to entitle Defendant to have his conviction or sentence overturned.

        6.        Forfeiture


       Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.

             7.   Civil Liabilitv

        This Plea Agreement does not affect any civil liability, including any tax liability.
Defendant has incurred or may later incur due to his criminal conduct and guilty plea to the charges
specified in Paragraph 1 of this Agreement.
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         8.    Breach of Plea Agreement


       Defendant understands that if he breaches any provision of this Agreement, Defendant
cannot use that breach as a reason to withdraw his guilty plea. Defendant's breach, however, would
give the U.S. Attorney the right to be released from his commitments under this Agreement, and
would allow the U.S. Attorney to pursue any charges that were, or are to be, dismissed under this
Agreement.

        If Defendant breaches any provision of this Agreement, the U.S. Attorney would also have
the right to use against Defendantany of Defendant's statements, and any informationor materials
he provided to the governmentduring investigation or prosecutionof his case. The U.S. Attorney
would have this right even if the parties had entered any earlier written or oral agreements or
understandings about this issue.

        Finally, if Defendant breaches any provision of this Agreement, he thereby waives any
defenses based on the statute oflimitations, constitutional protections against pre-indictment delay,
and the SpeedyTrial Act, that Defendantotherwisemay have had to any charges based on conduct
occurring before the date of this Agreement.

         9.    Who is Bound bv Plea Agreement

       This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

         10.   Modifications to Plea Agreement


       This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.
       If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attomey Eric S. Rosen

                                            Sincerely,

                                            ANDREW E.LELLING
                                            United States Attomey


                                    By:
                                               sPHEN E. FRANK
                                            Chief, Securities and Financial Fraud Unit
                                            JORDl DE LLANO
                                            Deputy Chief, Securities and Financial Fraud Unit



                                            ERIC S. ROSEN
                                            Assistant U.S. Attomey
                           ACKNOWLEDGMENT OF PLEA AGREEMENT

           I have read this letter and discussed it with my attomey. The letter accurately presents my
    agreement with the United States Attorney's Office for the District ofMassachusetts. There are no
    unwritten agreements between me and the United States Attomey's Office, and no United States
    government official has made any unwritten promises or representations to me in connection with
   my guilty plea. I have received no prior offers to resolve tMs case.

           I understand the crime I am pleading guilty to, andthe maximum penalties for that crime.
   I have discussed the Sentencing Guidelines withmylawyer andI understand thesentencing ranges
   that may apply.

        I am satisfied with the legal representation my lawyer has given me and we have had
  enough time to meet and discuss my case. We have discussed the charge against me, possible
  defenses I might have, the terms ofthis Agreement and whether I shouldgo to trial.

         I amentering into this Agreement freely and voluntarily, because I am in fact guilty ofthe
  offense. I am pleading guilty to, andI believe this Agreement is in my bestinterest.




                                                                 emoer




       I certify that John Vandemoer has read this Agreement and tiiat we have discussed what it
means, I believe John Vandemoer understands the Agreement and is entering into it fteely,
voluntarily, and knowingly. Ialso certify that the U.S. Attomey has not extended any other offers
regarding a change ofplea In this case.



                                                      Rob(
                                                      Atton^y for Defendant


                                                      Date:
